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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


UNITED STATES OF AMERICA              )
                                      )
      v.                              )     1:12-cr-00160-JAW-02
                                      )
MALCOLM A. FRENCH, et al.             )


     ORDER DENYING MOTION TO RECONSIDER ORDER DENYING
            MOTION FOR APPOINTMENT OF COUNSEL

      On March 13, 2014, Attorneys Stephen C. Peterson and William S. Maddox,

privately retained defense counsel for Rodney Russell, moved this Court to be

appointed to represent Mr. Russell. Letter from William S. Maddox to Jennifer L.

Gray, Assistant Clerk, U.S. District Court (Mar. 13, 2014) at 1 (ECF No. 338). On

April 3, 2014, the Court denied the motion.     Order Denying Ex Parte Mot. for

Appointment of Counsel (ECF No. 345). In the Order, the Court listed eight reasons

for denying their request. Id. at 1-4. One reason was that the case had entered the

sentencing phase and the Court anticipated that “neither Attorney Peterson nor

Attorney Maddox should be required to expend much uncompensated time to

complete their professional obligations to Mr. Russell.”   Id. at 4.    The Court’s

prediction proved much too optimistic. Now, nearly two years later, the case is

finally, after multiple motions for new trial and extensive sentencing memoranda,

ready for sentencing, which the Court has scheduled for April 21, 2016. Min. Entry

(ECF No. 624).
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        Even though the Court was wrong about the likelihood of a speedy sentencing

in April 2014, the Court is now quite sure—determined may be a better word—that

the sentencings of each of the remaining Defendants, including Mr. Russell, will take

place as scheduled on April 21, 2016. On March 22, 2016, the Court held a telephone

conference of counsel, set a final, final date for the submission of memoranda, which

has now passed, and emphasized that sentencing would proceed on April 21, 2016.

Min. Entry (ECF No. 636). Although the Court’s prediction turned out to be wrong

in April 2014, it seems indisputably correct now. This means that Attorneys Peterson

and Maddox must prepare for and attend one more hearing.

        Although the Court is sympathetic to the defense lawyers, the Court’s April

2014 prediction was only one factor among eight that the Court weighed in denying

their March 13, 2014 request. None of the other seven factors has changed, and now

after two years, the Court’s prediction on necessary defense work has finally come

true.

        The Court DENIES Defendant Rodney Russell’s Motion to Reconsider Order

Denying Ex Parte Motion for Appointment of Counsel Dated April 3, 2014 (ECF No.

640).

        SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 UNITED STATES DISTRICT JUDGE


Dated this 29th day of March, 2016



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